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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                             Chapter 7

    PHOENO WINE COMPANY, INC., et al.,                                 Case No. 23-10554 (KBO)

                                      Debtors.1                        (Jointly Administered)

                                                                       Hearing Date: October 5, 2023 at 3:00
                                                                       p.m. (ET)
                                                                       Objection Deadline: September 26, 2023
                                                                       at 4:00 p.m. (ET)
                                                                       Related Docket No.: 183

                         OPPOSITION OF TRIPLEPOINT CAPITAL
                 TO TRUSTEE’S MOTION TO SELL ASSETS FREE AND CLEAR

             Secured creditors TriplePoint Private Venture Credit Inc.; TriplePoint Venture Growth

BDC Corp.; and TriplePoint Venture Lending Fund, LLC (collectively, “TriplePoint”) file this

opposition (“Opposition”) to the Motion of Don A. Beskrone, Chapter 7 Trustee, for an Order

(A) Authorizing the Private Sale of Certain Assets Free and Clear of Liens, Claims, Interests, and

Encumbrances, (B) Authorizing Purchaser to Fulfill Existing Customer Orders, (C) Authorizing

Assumption and Assignment of Certain Executory Contracts and Unexpired Leases,

(D) Authorizing the Trustee to Serve Notice of this Motion on Customers by Email, and (E)

Granting Related Relief [D.I. 183] (“Sale Motion”).2 In support of this Opposition, TriplePoint

submits the accompanying Declaration of Kevin Thorne and respectfully states as follows:




1
   The debtors consist of Phoeno Wine Company, Inc. (“Phoeno”) and Underground Enterprises, Inc. DBA
Underground Cellar (“Underground Enterprises”, and together with Phoeno, the “Debtors”).
2
      Capitalized terms not otherwise defined herein shall have the same meaning given to them in the Sale Motion.
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                               I.       PRELIMINARY STATEMENT3

        1.       TriplePoint is the largest single creditor in these cases, with a claim of

approximately $8.3 million secured by a perfected, first priority, unavoidable lien on the wine that

the Trustee proposes to sell pursuant to the Sale Motion, i.e., the “Stored Wine,” as well as other

assets subject to the proposed sale. The central issue in these cases is a dispute regarding

ownership of the Stored Wine: certain Customers, through their now withdrawn Customer Motion,

contend that they own the wine, while TriplePoint contends that the Debtor owns the Stored Wine,

subject to TriplePoint’s properly perfected, valid, unavoidable liens.

        2.       TriplePoint’s position on ownership of the Stored Wine did not arise in a vacuum.

At all times during the borrower-lender relationship between the Debtors and TriplePoint, the

Debtors consistently represented that they—not the Customers—owned the Stored Wine. The

Debtors made these representations both verbally and in writing; on numerous calls with

TriplePoint; in the Perfection Certificate submitted in connection with the financing, where the

Debtors represented and warranted that the Stored Wine was TriplePoint’s collateral; and in the

Debtors’ financial statements, where they listed the Stored Wine as “inventory” that was an asset

of the Debtors (and not the Customers) worth millions of dollars. It was only when they filed these

cases that the Debtors’ officers and directors, perhaps worried about regulatory agencies and being

sued for fraud by thousands of Customers, suddenly took the factually and legally dubious position

that the Stored Wine was owned by the Customers, rather than the Debtors.

        3.       The fact that the Stored Wine is owned by the Debtors, and is thus TriplePoint’s

collateral, is fully supported by applicable law and the Debtors’ terms of service (“ToS”).4 Under




3
    Capitalized terms used in the Preliminary Statement are defined below.
4
    A copy of the ToS is attached to the Sale Motion as Exhibit C.
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the UCC as adopted in both Delaware and California,5 unless otherwise agreed in writing, title

passes to the Customers only upon completion of delivery to the Customer—that is, when the wine

ultimately is delivered to the customer’s home. Because the Debtors and the Customers never

modified the default title transfer mechanism under the UCC, title to the Stored Wine, which wine

is still located in the Debtors’ California warehouse, never left the Debtors. Consequently, the

Stored Wine is owned by the Debtors, subject to TriplePoint’s first priority perfected unavoidable

security interest. And now, under the Trustee’s proposed sale, at least one of the targets of this

malfeasance, Jeffery Shaw, the Debtors’ founder and former owner, board member, and President,

would obtain a broad release from the estate in exchange for no value whatsoever.

        4.       Through the Sale Motion, the Trustee puts the crate (of wine) before the horse. The

Trustee seeks authority to sell substantially all of the Debtors’ assets, including the Stored Wine,

free and clear of all interests, including TriplePoint’s lien on substantially all of the Debtors’ assets,

without making any necessary showing under section 363(f). TriplePoint does not consent to such

sale and the Sale cannot otherwise proceed over TriplePoint’s objection. To the extent there is a

legitimate dispute over the ownership of the Stored Wine, such dispute can be resolved only

through an adversary proceeding. See Fed. R. Bankr. P. 7001(2).

        5.       In an effort to manufacture compliance with the strictures of section 363(f) of the

Bankruptcy Code (specifically, section 363(f)(4)) and to try to sell the Stored Wine, which may be

the Debtors’ most valuable tangible asset, free and clear of TriplePoint’s lien, the Trustee contends

that it can sell the Stored Wine because estate ownership is subject to a bona fide dispute. But this

is not the bona fide dispute that justifies a sale free and clear under section 363(f)(4). Courts

distinguish between a bona fide dispute over the validity of the nondebtor party’s interest in the




5
    For purposes of the dispute regarding ownership of the Stored Wine, the result is the same whether California
law, the law selected under the Loan Agreement, or Delaware law, the law proffered by the Customers, applies. Loan
Agreement ¶ 20(m); ToS ¶ 21.7.

                                                        2
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estate property, which is subject to the provisions of section 363(f)(4) of the Bankruptcy Code,

and a bona fide dispute over the debtor’s interest (which isn’t).

        6.      The Stored Wine is not the only asset being sold. The proposed sale extends to

substantially all of the Debtors’ other assets, including their intellectual property, which is also

subject to TriplePoint’s perfected security interest. The Trustee cannot—and does not even try

to—justify a sale free and clear with respect to these assets because none of the provisions of

section 363(f) are satisfied and the sale cannot be approved over TriplePoint’s objection.

        7.      The problems with the Trustee’s Sale Motion go further. The Trustee seeks to grant

a release, freedom from successor liability, and a good faith finding to the Debtors’ founder and

former Board Member and President, Jeffrey Shaw, who also happens to be the principal of the

proposed Buyer here. The Debtors, under Shaw’s control, made representations to TriplePoint

that are diametrically opposed to the position they took in the Schedules regarding ownership of

the Stored Wine, and are the subject of at least one class action lawsuit. The Trustee makes no

effort to justify (or value) the extraordinary protections it seeks to give to Shaw, and the Sale

Motion is devoid of any evidence or argument as to whether the Trustee has conducted any

investigation or even attempted to value the claims from which the Trustee proposes to release Mr.

Shaw; this, too, is fatal to the Trustee’s sale efforts.

        8.      Inevitably, the Trustee will attempt to appeal to practical solutions: if TriplePoint

does not consent to the Trustee’s proposed sale of the Stored Wine (and other assets), what does it

want? TriplePoint believes that the best way to resolve the dispute regarding title to the Stored

Wine is before this Court through an expedited adversary proceeding. TriplePoint believes that,

through the Customer Motion, interested parties briefed the issues (subject to the Customers’ right

to submit a reply) and that it should be promptly resolved to prevent further delay or accrual of

administrative costs. All parties are before the Court and this Court has the relevant evidence

before it. This Court is best suited to promptly resolve the competing interests in the Stored Wine.

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       9.      Accordingly, for the reasons set forth herein, the Court should deny the Sale

Motion.

                                    II.      BACKGROUND

   A. Overview of the Debtors’ Business.

       10.     From approximately 2015 to May 1, 2023 (“Petition Date”), the Debtors operated

an online wine store for the discovery and purchase of premium wines by members, which store

would reward buyers with occasional free upgrades to rare and “private-stash” bottles from

prestigious wineries. As part of their business model, the Debtors offered a free wine storage

service, called “CloudCellar,” for customers who ordered wine through the Debtors’ website.

After placing an order, Customers were able to designate wines from the CloudCellar and, at a

time designated by the Customers, have the wine shipped to their homes or other location

designated by the Customer.

       11.     The Stored Wine is stored by producer and vintage, rather than by customer, i.e., it

is co-mingled, rather than segregated by Customer. The Stored Wine is presently located at a

climate-controlled wine storage warehouse owned and operated by a third party at 1166 Commerce

Blvd Std. D, American Canyon, CA 94503 (“Warehouse”). The Debtors are obligated to pay the

monthly rent for the Warehouse, and the risk of loss or damage to the Stored Wine is covered by

insurance obtained by and paid for by the Debtors, under which the Stored Wine is covered up to

$10.5 million. The Debtors have no other material property at the Warehouse.

   B. TriplePoint and the Debtors Enter into the Loan Agreement.

       12.     On May 18, 2022, the Debtors entered into that certain Plain English Growth

Capital Loan and Security Agreement (“Loan Agreement”) between TriplePoint, as lender, and

the Debtors, as borrowers. Thorne Decl. ¶ 6, Exhibit A. Under the Loan Agreement, TriplePoint

committed to make certain loans, including an initial commitment of $8,000,000, subject to the

completion of certain milestones by the Debtors. Id. The Debtors never satisfied those milestones,

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defaulted under the Loan Agreement in April of 2023 and, as of the Petition Date, owed TriplePoint

approximately $8.3 million. Id.

       13.     Under the Loan Agreement, the Debtors granted TriplePoint a first priority security

interest in, and lien upon, all of the Debtors’ assets, whether then owned or subsequently acquired

(as further described and defined in the Loan Agreement, the “Collateral”). Id. ¶ 7, Exhibit A,

Loan Agreement ¶ 8. Pursuant to the Loan Agreement, the Collateral specifically includes all

Inventory, all Goods, and all Intellectual Property. Id. On May 19, 2022, UCC-1 financing

statements were recorded on behalf of TriplePoint against both Debtors. Id. ¶ 7, Exhibit B (UCC-

1 for Phoeno) and Exhibit C (UCC-1 for Underground Enterprises). Each UCC-1 “covers all

personal property of the Debtor, whether now owned or hereafter acquired and wherever located.”

Id. No other UCC-1s were filed against either Debtor.

       14.     In connection with the Loan Agreement, Debtor Underground Enterprises, as the

authorized representative of both Debtors, executed a Certificate of Perfection (“Perfection

Certificate”) for the benefit of TriplePoint. Id. ¶ 8, Exhibit D. In the Perfection Certificate,

Underground Enterprises, as borrower representative for both Debtors, represented that the only

location of Collateral was 1166 Commerce Blvd Std. D, American Canyon, CA 94503, which is

the address of the Warehouse, where no material assets of the Debtors other than the Stored Wine

are located. Id. The Perfection Certificate also included “a current listing of all Patents, Patent

applications, Patent Licenses, Trademarks, Trademark applications, Trademark Licenses,

Copyrights, Copyright applications and Copyright Licenses” owned by the Debtors as a schedule.

Id. The IP Schedule lists certain trademarks owned by the Debtors. Id.

       15.     Further, in connection with the Loan Agreement, the lessor of the Warehouse, Biagi

Bros., Inc., and the Debtors executed a Plain English Landlord Representation and Waiver

Agreement (the “Landlord Waiver”), pursuant to which the Debtors “informed” the landlord that

they “intend[ed] to keep personal property at the Premises,” which included the Stored Wine. Id.

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¶ 9, Exhibit E. The Landlord Waiver expressly recognized TriplePoint’s security interest in all of

the Debtors’ personal property. Id.

        16.     Additionally, in connection with the Loan Agreement, the Debtors on multiple

occasions provided TriplePoint with certain financial reporting, which included balance sheets for

both Debtors. See id. ¶ 10, Exhibit F (Phoeno’s balance sheet dated as of end of February 2023)

and Exhibit G (Underground Enterprises’ balance sheet dated as of end of February 2023).

Notably, Debtor Phoeno repeatedly and consistently showed on its balance sheet as an asset

“inventory” valued at between $9 million and $11.6 million between January 2022 and February

2023.6 Id. The value of this “inventory” included all Stored Wine. Id. This is consistent with the

Debtors’ insurance coverage, which included coverage for “$10,500,000” in “Business Personal

Property” at the Debtors’ warehouse. Id. ¶ 10 Exhibit H. At all times prior to the Petition Date,

the Debtors maintained that they owned the Stored Wine and expressly represented the same to

TriplePoint. Id.

    C. The Debtors File Chapter 7 Cases, the Trustee Is Appointed, and the Customers
       Dispute Ownership of the Stored Wine.

        17.     On the Petition Date, each Debtor filed a voluntary chapter 7 petition. After the

Petition Date, the United States Trustee for the District of Delaware appointed Don A. Beskrone

to serve as chapter 7 trustee of both Debtors (“Trustee”). The Debtors’ cases were ordered to be

jointly administered on May 30, 2023 [D.I. 35].

        18.     In connection with their chapter 7 petitions, each Debtor filed with this Court a

Statement of Financial Affairs (“SOFA”) and Schedule of Assets and Liabilities (“Schedules”).

[D.I. 1]. In the Explanatory Notes for their Schedules and SOFA, the Debtors, for the first time,

described ownership of the Stored Wine as follows:

                A “Customer” as identified in the Schedules and SOFA is any retail client
                of the Debtor. Where “Customer” is used alone on Schedule F, it indicates
6
     The Stored Wine is owned by Debtor Phoeno. Debtor Underground Enterprises apparently did not own any of
the Stored Wine held at the warehouse.

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                 that the Customer is storing wine that was purchased and is owned by the
                 Customer at the Debtor’s facility. The amount shown as the “claim” for
                 such Customer on Schedule F is the amount paid by the Customer for the
                 purchased wine.

D.I. 1 at 10.

        19.      On August 30, 2023, certain customers filed a motion (“Customer Motion”)

asserting that they, and not the Debtors or their estates, owned the Stored Wine and requested that

the Stored Wine be turned over to them at no expense [D.I. 161]. TriplePoint objected to the

Customer Motion, providing significant evidence and dispositive legal argument that title to the

Stored Wine rested with the Debtors, subject to TriplePoint’s blanket and properly perfected

security interest [D.I. 169, 170]. On September 11, 2023, after TriplePoint filed its objection

thereto, the Customers withdrew the Customer Motion [D.I. 193].

    D. TriplePoint Files Secured Proofs of Claim.

        20.      TriplePoint has filed secured proofs of claim against Phoeno (Claim No. 15-1), and

Underground Enterprises (Claim No. 8-1), in each case asserting a fully secured claim in the

amount of no less than $8,342,543.61. No objection has been filed to either proof of claim.

    E. The Trustee’s Sale Motion.

        21.      On September 12, 2023, the Trustee filed the Sale Motion. While nominally a “sale

motion,” the relief requested extends beyond a straightforward sale. At a high level, the Sale

Motion provides for the following:

                    a. Consideration. $600,000 in exchange for acquired or purchased assets.
                       APA § 2.2. In the Sale Motion, the Trustee does not propose to turn over
                       any of these proceeds to TriplePoint despite its blanket lien on the assets
                       being sold.

                    b. Purchased Assets. The Assets (sometimes referred to in various documents
                       filed by the Trustee as “Purchased Assets”) being sold pursuant to the APA
                       include substantially all the Debtors’ assets, including, the “Wine” (defined
                       as “all wine, champagne and similar consumable alcoholic beverages stored
                       at the [Warehouse]”), all Inventory, and all intellectual property. See APA
                       §§ 1.1(7) (definition of “Assets”); 2.1.



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                      c. Fulfillment Rights. The Trustee attempts to nullify the title issues that
                         plagued the Customer Motion by conveying to the purchaser certain order
                         fulfillment rights. As further set forth in section 7.1 of the proposed APA
                         and a Fulfillment Notice, Customers will have until November 15, 2023 to
                         elect for disposition of the Stored Wine. According to the Trustee, title will
                         only pass to the purchaser after an opportunity for Customers to claim wine
                         in accordance with the Fulfillment Notice.

                      d. Release of Jeffrey Shaw. The purchaser is owned by the Debtors’ founder
                         and former executive, Jeffrey Shaw (“Shaw”), and the sale contemplates a
                         release of Shaw of all estate and certain Customer7 claims and causes of
                         action, whether known or unknown. See APA § 1.1(26) (excluding from
                         the sold assets “all claims and causes of action against any former director
                         or officer of the Debtors other than Jeffrey Shaw, whether choate or
                         inchoate, known or unknown, contingent or noncontingent, except as may
                         be released by the Trustee on behalf of the Estates pursuant to the Approval
                         Order.”); Sale Order ¶ 35 (releasing the Purchaser and a number of related
                         persons from “any and all claims of any kind held by the Estates . . .”). The
                         Sale Motion does not include a description of potential claims against Shaw
                         or other parties being released or the potential value of any such claims.
                         There is no evidence of any investigation performed by the Trustee into any
                         such claims.

                      e. Findings and Protections of a Good Faith Purchaser. The Sale Order
                         contemplates granting the Purchaser the protections afforded to a good faith
                         purchaser under section 363(m) of the Bankruptcy Code and other
                         protections under section 363(n). APA § 3.3(2); Sale Order ¶¶ P, U, 29, 30,
                         56.

                      f. Findings regarding Successor Liability. The proposed sale order includes
                         numerous putative protections against Successor Liability. Sale Order
                         ¶¶ O, AA, 15, 16, and 17.

                                             III.     ARGUMENT

    A. The Trustee Cannot Sell the Assets Free and Clear of TriplePoint’s Security Interests.

         22.      Pursuant to the Sale Motion, the Trustee seeks to sell substantially all the Debtors’

Assets, excluding de minimis and customary excluded assets, free and clear of all liens, claims,

encumbrances and other interests, including TriplePoint’s valid, perfected, unavoidable lien on


7
     Customers who elect to participate in the fulfillment process agree to “release, waive, discharge, and covenant
not to sue [the purchaser], its officers, directors, stockholders, employees, agents, or representatives (collectively,
“Releasees”), from any and all liability, claims, demands, actions, and causes of action whatsoever arising out of or
related to any loss, damage, or injury that may be sustained by the Customer, or to any property belonging to the
Customer, WHETHER CAUSED BY THE NEGLIGENCE OF THE RELEASEES, or otherwise.” Fulfillment Notice
¶ A (Liability Waiver).

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substantially all of the Debtors’ assets. Section 363(f) of the Bankruptcy Code permits the sale of

the Debtors’ assets free and clear of TriplePoint’s liens only if the Trustee can satisfy one of the

enumerated subsections of section 363(f) of the Bankruptcy Code. In re Ferris Properties, Inc.,

2015 WL 4600248 at *2 (Bankr. D. Del. July 30, 2015). The Trustee bears the burden on this

showing.8 See In re Grassi, 2011 WL 6096509, at *5 (B.A.P. 1st Cir. Nov. 21, 2011) (“The burden

is on the moving party to ‘show that one of the provisions of § 363(f)(1)-(5) is applicable to each

lien or interest from which the sale is to be free and clear.”’(internal citations omitted)).

         23.      The Trustee contends that only two sections apply, and then with respect to only

certain of the purchased assets. As set forth below, the Trustee cannot satisfy his burden.

               1. TriplePoint’s Interest in the Stored Wine Is Not Subject to a Bona Fide Dispute
                  as Contemplated by Section 363(f)(4) of the Bankruptcy Code.

         24.      The Trustee contends that he can sell the Stored Wine (the most valuable asset

subject to the proposed sale) free and clear pursuant to section 363(f)(4) of the Bankruptcy Code

because “the relative ownership interest as between the Debtors and the Customers is subject to

bona fide dispute and, thus, any interest of the Prepetition Lenders in the Stored Wine is likewise

subject to bona fide dispute.”9 Sale Motion ¶ 28. This is not the sort of bona fide dispute

implicated by section 363(f)(4) of the Bankruptcy Code; courts distinguish between a bona fide

dispute over the validity of the nondebtor party’s interest in the estate property, which is subject

to the provisions of section 363(f)(4) of the Bankruptcy Code, and a bona fide dispute over the



8
     Section 363(f) of the Bankruptcy Code states that a debtor or trustee may sell property under subsection (b) or (c)
free and clear of any interest of an entity other than the estate only if “(1) applicable nonbankruptcy law permits sale
of such property free and clear of such interest; (2) such entity consents; (3) such interest is a lien and the price at
which such property is to be sold is greater than the aggregate value of all liens on such property; (4) such interest is
in bona fide dispute; or (5) such entity could be compelled, in a legal or equitable proceeding, to accept a money
satisfaction of such interest.”
9
     Paradoxically, the Trustee’s proposed sale order includes findings that all assets, including the Stored Wine, are
property of the Debtors’ estates. Sale Order ¶ I (“The Debtors are the sole and lawful owners of, and have clear and
marketable title to, the Purchased Assets to be sold pursuant to the Asset Purchase Agreement, including, without
limitation, all items of personal property and real property owned by the Debtors as identified in the Asset Purchase
Agreement.”). If the assets, including the Stored Wine, are property of the Debtors’ estates, then they are subject to
TriplePoint’s liens and such liens must be satisfied in connection with any sale of the Stored Wine.

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debtor’s interest. See In re Rodeo Canon Dev. Corp., 362 F.3d 603, 605–06 (9th Cir. 2004)

(discussing the need to resolve disputed title issues prior to authorizing a 363 sale) (withdrawn

based on parties’ subsequent stipulation that operative facts on which court based its opinion were

not correct); Collier on Bankruptcy ¶ 363.06 (Richard Levin & Henry J. Sommer eds., 16th ed.)

(explaining that courts “distinguish[] between a bona fide dispute over the validity of the nondebtor

party’s interest in the property and a dispute over the debtor’s interest. In the latter, the court may

not authorize a sale under section 363 until the court resolves the dispute and determines that the

debtor has an interest that can be sold. Until that occurs, section 363 does not even apply.”).

       25.     The Trustee bears the burden of establishing that the property to be sold is property

of the estate under section 363(b) of the Bankruptcy Code. See, e.g., In re Whitehall Jewelers

Holdings, Inc., 2008 WL 2951974, at *7 (Bankr. D. Del. July 28, 2008) (requiring resolution of a

dispute related to consignment prior to authorizing a 363 sale). A sale under section 363 of the

Bankruptcy Code “cannot be had when there is an unresolved issue of whether the subject property

is ‘property of the estate.’” In re Interiors of Yesterday, LLC, 2007 WL 419646 (Bankr. D. Conn.

Feb. 2, 2007) (quoting In re Claywell, 341 B.R. 396, 398 (Bankr. D. Conn. 2006)). See also Rodeo

Canon, 362 F.3d at 605–06 (A bankruptcy court “may not allow the sale of property as ‘property

of the estate’ without first determining whether the debtor in fact owned the property.”).

       26.     The Trustee has not established that the Stored Wine is property of the estates; in

fact, he contends that such a determination does not need to be made in order to authorize the sale.

This is not how 363 sales work under applicable law. The Trustee can only sell estate property,

but it acknowledges here that estate ownership is disputed. Ownership of the Stored Wine is a

fundamental predicate that must be resolved prior to approval of any sale.

       27.     Nor can the Trustee point to the fulfillment construct in the APA to justify approval

of the sale or in furtherance of its bona fide dispute contentions. While the fulfillment procedures

may satisfy Customers in the near term, the end result is that all right, title and interest in any

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Stored Wine that is not fulfilled, as elected by Customers, will transfer from the estates to the

purchaser. This, again, requires a finding that the Stored Wine is property of the estate.

         28.      The propriety of any sale requires a resolution of whether the Stored Wine is

property of the Debtors’ estates, subject to TriplePoint’s liens (which it is).

               2. The Trustee Has Not Established that TriplePoint’s Interest in the Assets to
                  be Sold Is Subject to Any Other Provision of Section 363(f) of the Bankruptcy
                  Code.

         29.      While the Trustee’s principal argument focuses on section 363(f)(4) of the

Bankruptcy Code as it relates to the Stored Wine, he fails to establish any other basis under section

363(f) in support of a sale free and clear of any of the Debtors’ assets (beyond just the Stored

Wine), despite such assets being subject to a blanket lien in favor of TriplePoint:10

                          Section 363(f)(1) is not satisfied. The Trustee has not identified any
                           applicable law that permits the sale of the Stored Wine free and clear of
                           TriplePoint’s interests and TriplePoint is unaware of any such law. Section
                           363(f)(1) does not serve as a basis to support the Trustee’s free and clear
                           request.

                          Section 363(f)(2) is not satisfied. The Trustee contends that a party’s
                           consent to the sale free and clear of its interests should be implied in the
                           absence of an objection to the sale. Sale Motion ¶ 29. TriplePoint objects
                           and does not consent to the sale free and clear of its lien.

                          Section 363(f)(3) is not satisfied. The consideration for the purchased
                           assets is $600,000, which is far below the aggregate value of TriplePoint’s
                           more than $8.3 million secured claim. The Trustee cannot invoke section
                           363(f)(3) of the Bankruptcy Code to sell free and clear of TriplePoint’s
                           interests. In re PW, LLC, 391 B.R. 25, 40-41 (B.A.P. 9th Cir. 2008)
                           (holding that section 363(f) of the Bankruptcy Code does not authorize the
                           sale free and clear of a lienholder’s interest if the price of the estate property
                           is equal to or less than the aggregate amount of all claims held by a creditor
                           who holds a lien or security interest in the property being sold); see also In
                           re WDH Howell, LLC, 298 B.R. 527, 534 (D.N.J. 2003)(section 363(f)(3)
                           requires the sale price to be greater than face value of all liens).



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     Without evidence, the Trustee contends that having all liens attach to the sale proceeds will adequately protect all
parties with interests in assets being sold. Selling over $10 million in wine inventory, intellectual property, and other
assets in which TriplePoint has a valid, perfected, unavoidable and unchallenged lien for $600,000 does not adequately
protect TriplePoint. In the event the Court is inclined to approve the Sale Motion (and it should not), it should direct
the Trustee to distribute all consideration to TriplePoint on account of its liens.

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                      Section 363(f)(4) is not satisfied. As discussed above, section 363(f)(4) is
                       not satisfied.

                      Section 363(f)(5) is not satisfied. Section 363(f)(5) allows a trustee to sell
                       property of the estate free and clear of liens, claims, and encumbrances of
                       an entity if that entity “could be compelled, in a legal or equitable
                       proceeding, to accept a money satisfaction of such interest.” 11 U.S.C. §
                       363(f)(5). Because the purchase price offered by the proposed purchaser is
                       far less than the aggregate amount of TriplePoint’s liens and interests, “the
                       sale proponents must prove the existence of a legal or equitable proceeding
                       that could compel it to accept a money satisfaction of its interest in the
                       properties to be sold.” Ferris Properties, 2015 WL 4600248, at *2 (internal
                       citations omitted). Further, the sale proponents must “do more than show
                       that it is theoretically possible to compel a creditor to accept a money
                       satisfaction under section 363(f)(5).” Id.; see also PW, LLC, 391 B.R. at 45
                       (holding that debtors “must demonstrate how satisfaction of the lien ‘could
                       be compelled.’”); In re Haskell, L.P., 321 B.R. 1, 8-9 (Bankr. D. Mass.
                       2005) (rejecting the argument that debtors need only show that it is
                       theoretically possible to compel a party under section 363(f)(5)). The
                       Trustee has not and cannot make this showing.

       30.     No provision of Bankruptcy Code section 363(f) authorizes the Trustee to sell the

assets subject to the APA free and clear of TriplePoint’s liens.

   B. The Sale Motion Includes Additional, Extraordinary Relief that Cannot Be
      Approved.

       31.     Even if the Trustee had established that the sale was appropriate and could be

approved over TriplePoint’s objection (and he hasn’t), the Sale Motion includes significant

additional relief that can neither be granted nor justified as beneficial to the estates, based on the

showing made by the Trustee in the Sale Motion:

                      Releases of the Insider Purchaser. Among the extraordinary relief sought
                       by the Trustee through the Sale Motion contemplates a release of Shaw, the
                       owner of the purchaser and founder of the Debtors. Insider transactions,
                       such as these, are subject to heightened scrutiny. E.g., In re Blixseth, 2010
                       WL 716198, at *9 (Bankr. D. Mont. Feb. 23, 2010) (applying heightened
                       scrutiny to a sale to an insider by a trustee and denying incorporated releases
                       of claims). The Trustee has submitted no evidence or argument in support
                       of his proposed release of potential claims against Shaw. And there
                       indisputably are potential claims. The Debtors and their D&O, including
                       Mr. Shaw, are potentially responsible for misrepresentations to TriplePoint,
                       breaches of fiduciary duties, issues related to the non-payment of sales tax,
                       and a class action lawsuits. The Trustee has wholly failed to justify such
                       third-party release provisions on these facts.

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                      No release of successor liability. The proposed sale order includes
                       numerous provisions limiting potential successor liability for the purchaser.
                       However, given the insider nature of this transaction, such relief is
                       inappropriate and could effect an improper release. To the extent the sale
                       is approved, the sale order should be modified to remove ancillary relief
                       related to successor liability.

                      Good faith findings and related findings under section 363(n) of the
                       Bankruptcy Code. Because the purchaser is an insider that is controlled by
                       a person that has potentially engaged in malfeasance, as discussed above, it
                       should not be granted the protections of sections 363(m) or 363(n) of the
                       Bankruptcy Code. There can be no adequate showing of good faith here.

   C. The Debtors and Their Estates Own the Stored Wine.

       32.      While the sale cannot proceed without a determination of the estates’ interest in the

Stored Wine, the Debtors and their estates own the Stored Wine, subject to TriplePoint’s liens.

             1. Under the Uniform Commercial Code, Title to the Stored Wine Is in the
                Debtors because the Stored Wine Was Never Delivered to the Customers.

       33.      Under the Uniform Commercial Code, unless otherwise explicitly agreed in

writing, title to goods offered for sale passes to the buyer at the time and place at which the seller

completes the performance with physical delivery of the goods. Cal. Com. Code § 2401(2); 6 Del.

C. § 2-401(2). When there is nothing in a written agreement to establish a contrary intent, title to

goods passes from the seller to the buyer only upon delivery, without regard to when payment is

made or due. People v. Randono, 32 Cal. App. 3d 164 (Cal. Ct. App. 1973). If the contract requires

delivery at a destination specified by the customer, then title passes on delivery at the destination.

Cal. Com. Code, § 2401(2)(b); 6 Del. C. § 2-401(2)(b).

       34.      Application of these principles to the Debtors’ business is straightforward. The

Customers ordered wine from the Debtors. While the Customers paid for wine when it arrived for

storage at the Debtors’ Warehouse, under the UCC, title passed to the Debtors when the Debtors

purchased the wine from the vintners, and remained with the Debtors unless and until the wine

was received by the applicable Customer, not when it arrived at the Warehouse. Title would pass

to the Customers only when the wine was delivered to the address designated by the Customer for

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delivery—this is when Debtors would have completed their physical delivery of the wine.

Additionally, nothing in the ToS or elsewhere in any documentation submitted by the Trustee or

the Customers (or reviewed by TriplePoint) provides, explicitly or otherwise, for title to pass other

than as contemplated under the standard mechanisms of the UCC. With respect to the Stored Wine

at issue here, all incidents of ownership, including the risk of loss for which the Debtors obtained

insurance, remained with the Debtors until the wine was delivered to the customers, which never

occurred with respect to the Stored Wine at issue here. Accordingly, title to the Stored Wine

remains with the Debtors, subject to TriplePoint’s liens.

       35.     The title transfer mechanism under the UCC is entirely consistent with the verbal

and written representations the Debtors made to TriplePoint prior to the Petition Date, as well as

the Debtors’ prepetition balance sheets. Prior to the Petition Date, the Debtors understood (and

represented to TriplePoint) that they held title to the Stored Wine. The Debtors further represented

to TriplePoint that all Collateral, including the Stored Wine, was located at the Warehouse; the

Debtors included the value of the Stored Wine as “Inventory” on their balance sheets; and the

Debtors agreed with TriplePoint that the Debtors, rather than the Customers, owned the Stored

Wine. Only after filing chapter 7 did the Debtors’ story change.

       36.     Accordingly, under the Uniform Commercial Code, title to the Stored Wine would

only pass to the Customers when they actually received either the wine they had ordered or, in the

case of an upgrade, substituted wine. Because this never happened with the Stored Wine, title

remains with the Debtors.




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               2. The Debtors Were Not “Bailees” with Respect to the Stored Wine.

         37.      The only “dispute” regarding ownership that the Customers have identified is that

they contend that the Debtors held the Stored Wine as bailees while the Customers held title.11

This interpretation of the facts and law is simply wrong.

         38.      Both California and Delaware state law define a bailment as the “delivery of

personalty for some particular purpose, or on mere deposit, upon a contract, express or implied,

that after the purpose has been fulfilled it shall be redelivered to the person who delivered it, or

otherwise dealt with according to his directions, or kept until he reclaims it.” Marvel v. Clay, No.

94C-11-002, 1995 WL 465322, at *3 (Del. Super. Ct. June 15, 1995), aff’d, 676 A.2d 905 (Del.

1996); Gebert v. Yank, 172 Cal. App. 3d 544, 550 (Cal. Ct. App. 1985) (“In a broad sense a

bailment is the delivery of a thing to another for some special object or purpose, on a contract,

express or implied, to conform to the objects or purposes of the delivery which may be as various

as the transactions of men.”).

         39.      While state law governs, the U.S. Supreme Court has opined on whether a contract

is for a sale or for a bailment:

                  The recognized distinction between bailment and sale is that, when the
                  identical article is to be returned in the same or in some altered form, the
                  contract is one of bailment, and the title to the property is not changed. On
                  the other hand, when there is no obligation to return the specific article, and
                  the receiver is at liberty to return another thing of value, he becomes a debtor
                  to make the return, and the title to the property is changed. The transaction
                  is a sale.

Sturm v. Boker, 150 U.S. 312, 329 (1893).



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     Nor are the Customers “consignors” under the UCC. In order for the transactions at issue here to qualify as
consignments under the UCC, the Customers would have had to have held title and to deliver the wine to the Debtors
for the Debtors to sell as inventory. U.C.C. § 9-102 (“‘Consignment’ means a transaction, regardless of its form, in
which a person delivers goods to a merchant for the purpose of sale.”). Even under their faulty recitation of the
circumstances, the Customers did not do this. At most, in the Customers’ view, the Debtors held the wine pending
direction on where to ship it. Moreover, if the transactions at issue here were true consignments, the Customers would
have had to file UCC-1s financing statement in order to have priority over TriplePoint’s security interest, which they
did not do. E.g., Id. § 9-322 (establishing priority for conflicting security interests).

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        40.     “Accordingly, in distinguishing bailments from sales, the test of a bailment is that

the identical thing is to be returned in the same or some altered form.” In re Miami Metals I, Inc.,

603 B.R. 727, 735 (Bankr. S.D.N.Y. 2019) (discussing Florida and New York law).

        41.     The Customers’ contention that their relationship with the Debtors was one of

bailor/bailee is belied by the facts:

                       The wine purchased was not always the wine delivered. The Customers
                        make much of the fact that in some cases, the Debtors would “upgrade” the
                        wines that the Customers paid for. The ToS note that “Specific vintages
                        may not be available. If a chosen vintage is no longer available, a
                        comparable vintage of the same wine may be substituted” and that
                        “[s]pecific bottles may become unavailable due to vendor error, damage,
                        poor quality, or other reasons. In these cases, our [the Debtors’] in house
                        wine experts will use their best judgment to substitute bottles with similar
                        wines of equal or greater value.” ToS Section 3.3, 3.4. This is a critical
                        fact and demonstrates that the Debtors had control over what product was
                        ultimately delivered to the Customers. Under the Debtors’ ToS, Customers
                        were not purchasing specific wine. In fact, in the Sale Motion, the Trustee
                        explains that, for the significant majority of the Stored Wine, it is stored by
                        vintage and not by customer—further supporting the premise that
                        Customers did not buy specific bottles. Because the wine ordered by the
                        Customers was not necessarily the same as the wine delivered, there was no
                        bailment.

                       Customers could lose their right to have wine delivered if they did not
                        make annual purchases from the Debtors. Under the Debtors’ ToS, in
                        order to be eligible to use the CloudCellar, Customers had to be an “Active
                        Member” of the Underground Cellar community. ToS Section 6.1. “Active
                        Membership” required annual purchases from the Debtors’ website. Id. If
                        a Customer’s Active Membership expired, then such Customer forfeited its
                        rights to receive any wine and all rights remained with the Debtors. Id. This
                        is inconsistent with a bailment relationship or title vesting in anyone other
                        than the Debtors.

                       The Customers purchased wine from the Debtors, not the Vendors. A
                        fundamental assumption underlying the Customers’ “bailee” theory is that
                        they purchased wine directly from Vendors. But this is not possible for two
                        reasons. First, if wine had been sold directly from vendors to Customers, it
                        would have been subject to sales tax. Cal. Rev. & Tax. Code § 6006(a).
                        But, on information and belief, neither Customers, the Debtors, nor Vendors
                        paid sales tax on the Stored Wine. Until the Stored Wine is actually
                        delivered to the Customers, title did not transfer, and sales tax was not owed.
                        Second, the Customers were not in privity with the Vendors. The Customer
                        Motion is devoid of any evidence of any communications between
                        Customers and Vendors, not to mention any contracts between Vendors and

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                        the Customers. The Debtors, not the Customers, contracted with the
                        vendors for the acquisition of the wine that the Debtors (not the vendors)
                        then offered for sale to the Customers on their website. There was and is
                        no communication or contractual relationship between the Customers and
                        the Vendors.

       42.       Fundamentally, wine purchased was not necessarily the same wine that was

delivered to the Warehouse or, ultimately, to the Customers. This fact alone precludes a finding

of a bailor/bailee relationship. Similarly, the fact the Customers did not directly contract with any

of the vendors for the purchase of wine precludes a finding of a bailment. Without owning the

specific wine delivered—an impossibility under the ToS and without a contract between the

subject vendor and the Customer—there was no delivery of identical and identified goods subject

to a bailment.

                              IV.    RESERVATION OF RIGHTS

       43.       This Opposition is submitted without prejudice to, and with a full reservation of,

all of TriplePoint’s rights, claims, causes of action, defenses, and remedies, at law or in equity,

under the Loan Agreement, all related documentation, and in any way with respect to the Sale, the

Debtors, the Customers, Shaw, the Trustee, or otherwise, including, without limitation, the right

to object to any claims submitted by any Customer or scheduled by the Debtors. TriplePoint

reserves the right to amend, modify, or supplement this Opposition in writing or orally at any

hearing, to respond to any pleadings filed by any other party, and to introduce evidence at or prior

to any hearing relating to the Sale Motion.

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                                     V.     CONCLUSION

       WHEREFORE, TriplePoint respectfully requests that the Court deny the Sale Motion in

full and grant such other and further relief as the Court deems warranted.

 Dated:    September 26, 2023                     DLA PIPER LLP (US)
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                                CERTIFICATE OF SERVICE

        I, Stuart M. Brown, Esq., hereby certify that on September 26, 2023, a true and correct

copy of the Opposition of TriplePoint Capital to Trustee’s Motion to Sell Assets Free and Clear

was served via CM/ECF on all parties who are registered to receive e-filing notifications in this

case.

 Dated:    September 26, 2023                     /s/ Stuart M. Brown
           Wilmington, DE                        Stuart M. Brown (DE 4050)
